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             10        Attorneys for Defendant
                       APPLE INC.
             11

             12                                    UNITED STATES DISTRICT COURT

             13                                   NORTHERN DISTRICT OF CALIFORNIA

             14        RAJA KANNAN,                                 Case No. 5:17-cv-07305-EJD (VKD)
             15                      Plaintiff,                     APPLE INC.’S NOTICE OF
                                                                    PROPOSED DEADLINE TO
             16               v.                                    PRODUCE DOCUMENTS PURSUANT
                                                                    TO SEPTEMBER 25, 2019
             17        APPLE INC.,                                  DISCOVERY ORDER
             18                      Defendant.                     Complaint Filed:   December 26, 2017
                                                                    FAC Filed:         May 10, 2018
             19                                                     SAC Filed:         October 19, 2018
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Baker & McKenzie LLP
   660 Hansen Way          APPLE INC.’S NOTICE OF PROPOSED DEADLINE TO PRODUCE DOCUMENTS PURSUANT TO
 Palo Alto, CA 94304
   +1 650 856 2400                               SEPTEMBER 25, 2019 DISCOVERY ORDER
                            Case 5:17-cv-07305-EJD Document 132 Filed 10/02/19 Page 2 of 2



               1       TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

               2              Pursuant to Magistrate Judge Virginia K. Demarchi’s September 25, 2019 Order re Discovery

               3       Motions, Defendant Apple Inc. hereby provides notice that it is unable to fully comply with the

               4       October 1, 2019 deadline to produce a report or spreadsheet showing the compensation, stock awards,

               5       bonuses, and dividends for each of Mr. Kotni’s employees from January 1, 2011 through December

               6       31, 2018, as kept in the ordinary course of business. Apple will produce the aforementioned reports

               7       no later than October 7, 2019.

               8              Apple further provides notice that, due to the voluminous number of documents, it is unable to

               9       comply with the October 1, 2019 deadline to produce the Options and Awards Summary, the re-

             10        redacted bi-weekly pay statements, and documents showing the independent contractor and employee

             11        count information for each of Mr. Kotni’s employees from January 1, 2011 through December 31,

             12        2018. Apple will produce these documents by no later than October 3, 2019, but will start producing

             13        them on October 2, 2019 on a rolling basis.

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             15         Dated: October 2, 2019                              BAKER & MCKENZIE LLP
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             17                                                             By: //s// Todd K. Boyer
                                                                               Todd K. Boyer
             18                                                                Caroline Pham
                                                                               Christopher Im
             19                                                                Attorneys for Defendant
                                                                               APPLE INC.
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